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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

MALIBU MEDIA, LLC,

              Plaintiff,                                    Civ. No. 2:17-01321
       v.
TIM MCMANUS,                                                      ORDER

              Defendant.


       THIS MATTER comes before the Court on Defendant’s motion to vacate entry

of default pursuant to Federal Rules of Civil Procedure 55(c) and 60(b). ECF No. 18.

Plaintiff consented to the instant motion. See Certification of L. Farber ¶ 3, ECF No. 18-

1. As an initial matter, the Court notes that an entry of a default judgment has not been

made at this time, only an entry of default. See ECF No. 17. Rule 60, therefore, does not

apply here. Rule 55(c) provides that a court may set aside an entry of default for good

cause. See Fed. R. Civ. P. 55(c).

       In considering whether to vacate an entry of default, courts consider three factors:

(1) whether the plaintiff will be prejudiced; (2) whether the defendant has a meritorious

defense; and (3) whether culpable conduct of the defendant led to the default. See

Feliciano v. Reliant Tooling Co., Ltd., 691 F.2d 653, 656 (3d Cir. 1982). First, Plaintiff

makes no objection to the vacation of default, which evidences the fact that it will not be

prejudiced by it. Second, Defendant denies all of the allegations leveled against him, the

substance of which, if true, would provide a meritorious defense to Plaintiff’s claims.

See Certification of T. McManus ¶ 7, ECF No. 18-2. Third, Defendant provides several


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reasons as to why he is not culpable for the entry of default against him, none of which

Plaintiff contests. See id. ¶¶ 8–19. Accordingly;

       IT IS on this 8th day of January 2018, hereby,

       ORDERED that Defendant’s motion to vacate entry of default is GRANTED;

and it is further

       ORDERED that the Court’s Entry of Default against Defendant filed on

November 30, 2017, is hereby VACATED; and it is futher

       ORDERED that Defendant shall have fourteen (14) days from the entry of the

instant Order to file a responsive pleading to Plaintiff’s Amended Complaint.




                                                      /s/ William J. Martini
                                                    WILLIAM J. MARTINI, U.S.D.J.




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